UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF OHIO
EASTERN DIVISION

Rocky Ratliff,
Plaintiff, Case No. 2:19-cv-4746
Vv. Judge Michael H. Watson
The Ohio State University, Magistrate Judge Deavers
Defendant.

OPINION AND ORDER

Rocky Ratliff (‘Plaintiff’) sues The Ohio State University (“Ohio State”)
based on sexual abuse he suffered at the hands of Dr. Strauss (“Strauss”) while
a student at Ohio State. Am. Compl., ECF No. 18. Plaintiff brings a Title IX
claim under various theories: (1) hostile environment; (2) deliberate indifference;
(3) heightened risk; and (4) retaliation.’ See, e.g., Am. Compl. {J 114-33, ECF
No. 18. It appears Plaintiff bases each Title IX theory on both the abuse by
Strauss and the highly sexualized environment that generally existed within

Larkins Hall. /d. Plaintiff also arguably asserts a stand-alone claim of fraudulent

 

1 Plaintiff includes some allegations and arguments that Ohio State failed to report or
investigate the complaints about Strauss’s abuse. To the extent Plaintiff intends to
bring a failure-to-report theory under Title IX, Plaintiff offers nothing to suggest the Sixth
Circuit recognizes such a theory separate from the theories Plaintiff already asserts. If,
on the other hand, Plaintiff intends to assert a failure-to-report claim under the Clery Act,
that cannot succeed because the Clery Act does not provide a private right of action.
See 20 U.S.C. § 1092(14)(A) (“Nothing in this subsection may be construed to

... create a cause of action against any institution of higher education or any employee
of such an institution for any civil liability.”).

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concealment, fd. I] 134—46, and a claim for violation of his Fourteenth
Amendment Substantive Due Process rights by way of 42 U.S.C. § 1983. /d.
WM 157-551. Ohio State moves to dismiss the Amended Complaint. Mot.
Dismiss, ECF No. 21.

I. Title IX Claims Based on Strauss’s Abuse

First, Plaintiffs Title IX claim based on hostile environment, deliberate
indifference, and heightened risk fails for the reasons stated in the Opinion and
Order in Garrett v. The Ohio State University, Case No. 2:18-cv-692, to the
extent the claim is based on Strauss’s abuse of Plaintiff. The reasoning in the
Court's Opinion and Order in Garrett applies equally here, as Plaintiff's Amended
Complaint alleges that he attended Ohio State from 1995-1997 and was sexually
assaulted by Strauss approximately twelve times during his time there. /d.

11 43-44. Plaintiff's Complaint in this case was not filed until October 25, 2019,
and, therefore, under either the occurrence rule or the discovery rule, his Title 1X
claim under these theories is time-barred.

Plaintiff offers two arguments in opposition to dismissal based on the
statute of limitations that were either not raised or not fully developed in Garrett,
so the Court addresses them herein. Namely, Plaintiff argues that his claim is
not barred by the statute of limitations under the continuing violations theory and
under the equitable doctrine of unclean hands.

The continuing violations doctrine does not save Plaintiff's claims. It is

worth noting, first, that it is unclear whether the continuing violations doctrine

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even applies to Title IX claims. Doe v. Mercy Cath. Med. Cir., 850 F.3d 545, 566
(3d Cir. 2017) (“Some courts suggest it does. See, e.g., Stanley v. Trs. of
California State Univ., 433 F.3d 1129, 1136 (9th Cir. 2006). Others suggest it
doesn’t. See, e.g., Folkes v. New York Coll. of Osteopathic Med., 214 F. Supp.
2d 273, 288-91 (E.D.N.Y. 2002).”). Plaintiff cites no case where the continuing
violations doctrine has been applied to a Title IX claim.”

However, even assuming the doctrine does apply in Title 1X cases,
Plaintiffs allegations would not trigger it. The continuing violations doctrine is “an
exception to the ordinary rule regarding the commencement of a statute of
limitations, [that] allows for tolling based on continuing unlawful acts.” Norman v.
Granson, No. 18-4232, 2020 WL 3240900, at *2 (6th Cir. Mar. 25, 2020) (citing
Havens Realty Corp. v. Coleman, 455 U.S. 363, 380-81 (1982)). The Sixth
Circuit has recognized two categories of continuing violations: “(1) ‘those alleging
serial violations’ and (2) ‘those identified with a long-standing and demonstrable
policy of discrimination.” fd. (citing Sharpe v. Cureton, 319 F.3d 259, 266 (6th
Cir. 2003)). For either category, a continuing violation exists only when three

requirements are met: “(1) ‘the defendant's wrongful conduct must continue after

 

2 Plaintiff cites Bowling v. Holt Pub. Sch., No. 1:16-CV-1322, 2017 WL 4512587 (W.D.
Mich. May 26, 2017) as a case that “supports a conclusion that the continuing violations
theory is applicable to the case at bar and precludes dismissal.” Reply 23, ECF No. 26.
The Court disagrees with this interpretation. If anything, Bowling is another example of
the uncertainty regarding whether the continuing violations doctrine applies to Title IX
cases, and that court simply analyzes the issue in case it does. See id. at “2 (“This
Court need not decide whether the continuing violation doctrine applies in the context of
Title IX, because even if it does, Bowling’s allegations show that it does not apply.”).

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the precipitating event that began the pattern,’ (2) ‘injury to the plaintiff must
continue to accrue after that event,’ and (3) ‘further injury to the plaintiff[] must
have been avoidable if the defendants had at any time ceased their wrongful
conduct.” /d. (citing Tolbert v. Ohio Dep’t of Transp., 172 F.3d 934, 940 (6th Cir.
1999)).

Plaintiff points to “[Defendant]’s continuing assertion of no wrongdoing by
Dr. Strauss, coupled with [Defendant]’s continued failure, until May 2019 to report
wrongdoing as required by Title IX and the Clery Act, and its admission in its
letter that it did not take action necessary to protect its students over the years’
as evidence of a continuing violation. Reply 25, ECF No. 26. Plaintiff argues
that “he has been harmed by an actual policy of discrimination held by the
Defendant, or a series of acts performed by Defendant, to wit, continued
concealment of and/or cover up of and denial and refusal to report sexual abuse
and other unlawful conduct,” noting that “each day that such a policy is in force is
a new violation.” /d. at 26.

Regardless of which category of continuing viclation Plaintiff attempts to
invoke, Plaintiffs argument fails because he is unable to identify any specific
discriminatory act within the limitations period. Both categories require a specific
discriminatory act to have been suffered during the applicable limitations period.
Dixon v. Anderson, 928 F.2d 212, 216 (6th Cir. 1991), abrogated on other
grounds by Sharpe, 319 F.3d at 268 (‘“[The first] category requires a ‘current’ as

well as ‘continuing’ violation: at least one of the forbidden discriminatory acts

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must have occurred within the relevant limitations period.”); Pittman v. Spectrum
Health Sys., 612 F. App’x 810, 813 (6th Cir. 2015) (The second category
requires, in addition to a longstanding and demonstrable policy of discrimination,
that plaintiff allege they have “suffered a specific discriminatory act within the
applicable limitations period.” (citations omitted)).

Plaintiff relies repeatedly on the Sixth Circuit's opinion in Roberts v. North
American Rockwell Corporation, 650 F.2d 823, 827 (6th Cir. 1981), to support his
continuing violations argument. Specifically, Plaintiff maintains that Roberts
stands for the proposition that “the statute of limitations begins anew each day
that the discriminatory policy remains in existence.” Reply 24, ECF No. 26.
However, the holding in Roberts has since been clarified and limited by the Sixth
Circuit. Roberts requires that “a plaintiff prove some specific discriminatory act
within the limitations period, not merely the existence of a discriminatory policy,
to show a continuing violation.” Wellons v. Nw. Airlines, Inc., 25 F. App’x 214,
219 (6th Cir. 2001) (citing Dixon, 928 F.2d at 217). Plaintiff alleges no such
specific act during the statutory limitation period that would spark a continuing
violation to make these ciaims timely. Indeed, all of Plaintiff's allegations relate
to his time as a student at Ohio State, where Ohio State’s actions caused him to
“experience further sexual molestation, assault, abuse, and harassment and/or
[become] more vulnerable to it into the future,” be “deprived . . . of access to the
educational opportunities or benefits provided by OSU,” and which “effectively

barred [Plaintiff's] access to educational opportunities and benefits, including a

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safe educational environment and appropriate medical care.” Am. Compl.
77 115, 116, 119, ECF No. 18. None of these claims by Plaintiff alleges any
policy that is presently impacting Plaintiff, or has impacted Plaintiff in the
statutory period, and, therefore, these claims cannot justify a continuing violation.
One claim by Plaintiff is pleaded as touching the present. Plaintiff alleges
that because of Ohio State’s actions:
Plaintiff has suffered and continues to suffer emotional distress,
physicai manifestations of emotional distress, mental anguish, fear,
depression, anxiety, trauma, disgrace, embarrassment, shame,
humiliation, loss of self-esteem, and loss of enjoyment of life, which
will continue into the future. Also, Plaintiff was prevented from and
continues to be prevented from obtaining the full enjoyment of life.
Plaintiff has sustained and continues to sustain loss of earnings and
earning capacity. Finally, Plaintiff has incurred various personal
expenses.
Am. Compl. J 117, ECF No. 18; see also id. at Jf] 133, 551. While the Court has
no doubt about the truth of Plaintiff's claims, they unfortunately do not make the
continuing violations theory applicable in this case. The doctrine is clear that
“limitations periods begin to run in response to discriminatory acts themselves,
not in response to the continuing effects of past discriminatory acts.” Dixon, 928
F.2d at 216 (citing Delaware State College v. Ricks, 449 U.S. 250, 258 (1980),
and United Airlines v. Evans, 431 U.S. 553, 557 (1977)). Because Plaintiff's only
present allegation regards the continuing effects of acts that occurred while he

was a student at Ohio State, outside of the limitations period, these effects do not

trigger a continuing violation.

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Indeed, the Ninth Circuit addressed a similar continuing violations
argument in Stanley v. Trustees of California State University, 433 F.3d 1129
(9th Cir. 2006). There, after the plaintiff alleged that she suffered sexual
harassment at the hands of Richard Savino, her professor and faculty advisor,
she brought suit against the trustees of her university for Title IX claims. /d. at
1137, The Ninth Circuit found that the continuing violation doctrine could not
save her claims. For her hostile environment Title IX claims, the court noted that
the plaintiff “[nad] not alleged that the University caused her to undergo, or be
vulnerable to, any harassment during the limitations period, a time when she was
not present at the University.” /d. at 1137. The court further noted that “we have
never held the presence of an individual in a workplace or institution where the
plaintiff is not present constitutes a hostile environment. The mere speculation
that if she had returned the environment would have been hostile is not sufficient
to establish an ‘act’ by a defendant within the limitations period.” /d. (emphasis
added). While the Sixth Circuit has yet to address the continuing violations
doctrine’s applicability to Title IX cases, the reasoning from Stanley is
persuasive. Accordingly, the continuing violations theory is inapplicable to this
case.

Neither does the clean hands doctrine aid Plaintiff. Under the clean hands
doctrine, “he who comes into equity must come with clean hands.” Precision
Instrument Mfg. Co. v. Auto. Maint. Mach. Co., 324 U.S. 806, 814 (1945). That

is, the clean hands doctrine prevents a party from asserting an equitable claim or

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defense if that party is “tainted with inequitableness or bad faith relative to the
matter in which he seeks relief.” /d.

A statute of limitations defense, however, is a /ega/ defense, not an
equitable one. See Grover by Grover v. Eli Lilly & Co., 33 F.3d 716, 719 (6th Cir.
1994) (describing the statute of limitations as an “absolute legal defense”); Allen
v. Abbott Labs., No. CIV.A. 11-146-DLB, 2012 WL 10508, at *7 (E.D. Ky. Jan. 3,
2012) (noting that the statute of limitations is an “absolute legal defense”); see
also Rushing v. Yazoo Cty., No. 3:18CV764TSL-RHW, 2020 WL 4587047, at *8
(S.D. Miss. May 8, 2020), affd sub nom. Rushing v. Yazoo Cty. by & through Bd.
of Supervisors of Yazoo Cty., No. 20-60462, 2021 WL 2390378 (5th Cir. June 10,
2021) (rejecting an argument that the clean hands doctrine could bar a statute of
limitations defense because the statute of limitations is a legal defense).
Because the statute of limitations is a legal, not equitable defense, the clean
hands doctrine is also inapplicable.

ll. ‘Title IX Claims Based on Environment at Larkins Hall

To the extent Plaintiff asserts a Title IX hostile environment, deliberate
indifference, or heightened risk claim against Ohio State based on the sexually
hostile environment that generally existed in Larkins Hall apart from Strauss’s
abuse, the Court concludes such claim is similarly untimely.

Plaintiffs Amended Complaint states that he and the other wrestlers used
Larkins Hall during the time they were enrolled at Ohio State. See Am. Compl.

7 8, ECF No. 18. It further alleges that, at Larkins Hall, numerous individuals

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would, infer alia, “shower with the wrestlers, stare at the wrestlers, and
excessively lather their genital area.” /d. 9. Some even masturbated in the
shower area. /d. 10. People would also watch the wrestlers from bathroom
stalls or while in the sauna, and many would explicitly solicit the victim-students
for dates or sexual activity. /d. Ff] 10-11. “Members of the OSU wrestling team
and OSU wrestling coaching staff consistently discovered male on male sexual
encounters in the locker room, bathroom, sauna facilities, spiral staircase, and
wrestling room.” /d. 712. In fact, the hostile environment was so blatant that
Plaintiffs head wrestling coach talked to the wrestlers about how “they needed to
look out for one another in Larkins Hall” and stated that he was “doing everything
possible to get the wrestling team to a new facility and a better training
environment.” fd. J 52.

Accordingly, Plaintiff has pleaded that he was aware of the sexually hostile
environment in Larkins Hall—which, by his own admission “was so severe,
pervasive, and objectively offensive that it deprived [Plaintiff] of access to his
educational opportunities and/or benefits provided by [Ohio State],” id. | 123—
during the time he was enrolled at Ohio State. He was also on notice that the
head coach was attempting to work with the University to secure a new facility for
the team given the hostile environment, which is enough to put Plaintiff on notice
at that time that Ohio State was likely aware of the complaints regarding the
hostile environment. Accordingly, to the extent Plaintiffs Title IX claims are

based on the general environment at Larkins Hall, as opposed to the prolific

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abuse perpetrated by Strauss specifically, the claim is still untimely for the
reasons stated in the Garrett Opinion and Order, which apply equally to the
general environment at Larkins Hall.

lll. Title IX Retaliation Claim

Plaintiff also brings a Title IX retaliation claim based on actions that
occurred in 2019. Am. Compl. J] 148-56. Defendant moves to dismiss the
retaliation claim, inter alia, on the basis that Plaintiff has not alleged he suffered
any adverse school-related action. Mot. Dismiss 17, ECF No. 21.

Defendant is correct. Although the Sixth Circuit has never established the
elements of a Title IX retaliation claim in a published case, it has assumed (in
both published and unpublished opinions) that “a Title IX plaintiff must show that
(1) [s]he engaged in protected activity; (2) [the funding recipient] knew of the
protected activity; (3) [s]he suffered an adverse school-related action, and (4) a
causal connection exists between the protected activity and the adverse action.”
Bose v. Bea, 947 F.3d 983, 988 (6th Cir. 2020) {internal quotation marks and
citation omitted; alterations in original).

Here, Plaintiff does not allege (nor could he) an adverse school-related
action because the alleged retaliation took place decades after Plaintiff
graduated. See Am. Compl. Jf] 149-56, ECF No. 18. This claim therefore fails.
IV. 42U.S.C. § 1983 Claim

Plaintiffs § 1983 claim fails as well because, infer alia, Ohio State is

entitled to Sovereign Immunity.

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The Eleventh Amendment provides, “[t]he Judicial power of the United
States shall not be construed to extend to any suit in law or equity, commenced
or prosecuted against one of the United States by Citizens of another state, or by
Citizens or subjects of any foreign State.” U.S. Const. Amend. XI. “It has long
been settled that the Eleventh Amendment applies not only to suits brought
against a State by a citizen of ‘another State,’ but also to suits brought by a
citizen against the State in which he or she resides.” Lee Testing & Eng’g, Inc. v.
Ohio Dept. of Transp., 855 F.Supp.2d 722, 725 (S.D. Ohio 2012) (citing Hans v.
Louisiana, 134 U.S. 1(1890)). Thus, the Eleventh Amendment “bars all suits,
whether for injunctive, declaratory or monetary relief, against the state and its
departments.” Thiokol Corp. v. Mich. Dep’t of Treasury, 987 F.2d 376, 381 (6th
Cir. 1993). When suits are filed against state agencies or state officials in their
official capacities, they “should be treated as suits against the State.” Hafer v.
Melo, 502 U.S. 21, 25 (1991); Will v. Michigan Dep't of State Police, 491 U.S. 58,
70 (1989).

Here, it is undisputed that Ohio State is an arm of the State of Ohio. See
Galli v. Morelli, 277 F. Supp. 2d 844, 856, n. 13 (S.D. Ohio 2003) (“[T]his Court
has repeatedly concluded that OSU is an ‘arm or alter ego’ of the State of Ohio,
and thus protected by the Eleventh Amendment.”). Consequently, Ohio State is
immune from suit under the Eleventh Amendment.

Plaintiff's arguments to the contrary fail to persuade. First, Plaintiff argues

that Congress abrogated Eleventh Amendment immunity when it passed Title [X.

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The Court agrees with Plaintiff that this is well settled. However, Plaintiff's
argument regarding Title IX is irrelevant to whether Ohio State is entitled to
Sovereign Immunity for Plaintiffs § 1983 claim. Plaintiffs contention that
Congress abrogated Eleventh Amendment immunity in § 1983 claims is
incorrect. E.g., Will v. Mich. Dept. of State Police, 491 U.S. 58, 66 (1989) (“That
Congress, in passing § 1983, had no intention to disturb the States’ Eleventh
Amendment immunity and so to alter the federal-state balance in that respect
was made clear in our decision in Quern.”).

Plaintiff next asserts that a state waives Eleventh Amendment immunity for
§ 1983 claims. This is a misstatement of the law. Although a state may waive its
sovereign immunity in a § 1983 suit, Ohio State has net done so here and has,
instead, specifically invoked sovereign immunity as a defense.

Third, Plaintiff contends that § 1983 allows for monetary damages against
state employees. While this is accurate insofar as sovereign immunity is no bar
to suits for monetary relief against state employees in their personal capacities,
Plaintiff is suing only a state entity, not a state employee. Accordingly, this
argument is inapposite.

Finally, Plaintiff argues that the Eleventh Amendment does not bar
prospective injunctive relief. It seems that Plaintiff is trying to invoke the Ex parte
Young exception, under which “a federal court can issue prospective injunctive
and declaratory relief compelling a state official to comply with federal law.” S &

M Brands, Inc. v. Cooper, 527 F.3d 500, 507-08 (6th Cir. 2008) (quotation marks
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and internal citations omitted). However, the Ex parte Young exception applies
only to state officials, not to state entities. /d.; see also Sims v. Univ. of
Cincinnati, 46 F. Supp. 2d 736, 737 (S.D. Ohio 1999), aff'd, 219 F.3d 559 (6th
Cir. 2000) (citing Seminole Tribe of Fla. v. Fla., 517 U.S. 44, 58 (1996)) (“The
type of relief sought is irrelevant to the issue of whether a suit against the state or
a state agency is barred by the Eleventh Amendment.”). Because Plaintiff is
suing only a state entity—and because he does not seek injunctive relief—he
cannot rely on the Ex parte Young doctrine to save his claims.

For each of the above reasons, Plaintiffs § 1983 claim is barred by
sovereign immunity and must be dismissed pursuant to Federal Rule of Civil
Procedure 12(b}(1).

V. Fraudulent Concealment

Finally, Plaintiffs fraudulent concealment claim fails. To begin, to the
extent that Plaintiff asserts a fraudulent concealment claim as an independent
cause of action, that claim is dismissed without prejudice. As discussed herein,
all of Plaintiffs federal claims have been dismissed. The remaining fraudulent
concealment claim is a state-law claim, and so the Court declines to exercise its
supplemental jurisdiction over it.

Although the Court does have discretion to maintain supplemental
jurisdiction, “a federal court that has dismissed a plaintiff's federal-law claims
should not ordinarily reach the plaintiff's state-law claims.” Rouster v. Cty. of

Saginaw, 749 F.3d 437, 454 (6th Cir. 2014); see also Osborn v. Haley, 549 U.S.

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225, 245 (2007). “When all federal claims are dismissed before trial, the balance
of considerations usually will point to dismissing the state law claim. .. .” Musson
Theatrical, Inc. v. Fed. Exp. Corp., 89 F.3d 1244, 1254—55 (6th Cir. 1996). A
district court shall “consider and weigh several factors” when determining
whether to exercise supplemental jurisdiction, including the “values of judicial
economy, convenience, fairness, and comity.” Gamel v. City of Cincinnati, 625
F.3d 949, 951 (6th Cir. 2010) (citing Carnegie-Melion Univ. v. Cohill, 484 U.S.
343, 350 (1988)). District courts can also consider factors such as: whether the
plaintiff engaged in manipulation by dismissing federal claims; whether discovery
had been completed; the degree of familiarity the court has with the issues; and if
the court had invested significant time in the decision. Gamel, 625 F.3d at 952.

On balance, the Court finds the weight of these factors is against the
continued exercise of supplemental jurisdiction. Although the Court does have
familiarity with this case, the other factors weigh against the continued exercise
of supplemental jurisdiction over the state-law claim. First, all federal claims
have been dismissed, and only a state-law claim remains. Second, while the
Court may have presided over this case for almost two years, the case is still in
relative infancy; for example, the parties have not yet submitted a Rule 26(f)
report, and no pre-trial deadlines have been set. Third, whether Ohio courts
even recognize a stand-alone claim for fraudulent concealment is an unclear
issue best left for the state courts to determine. Compare Richards v. St.

Thomas Hosp., 492 N.E.2d 821, 824, n.3 (1986) (stating that, outside of statute,
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there is no claim for fraudulent concealment) with Milner v. Biggs, 522 F. App’x
287, 294 (6th Cir. 2013) (analyzing a claim for fraudulent concealment under the
same standard as a claim for fraud). Finally, there is “a strong presumption in
favor of dismissing supplemental claims” once the federal claims have been
dismissed. Musson Theatrical, inc., 89 F.3d at 1255. These factors taken
together weigh against the continued exercise of supplemental jurisdiction.
Accordingly, the Court declines to exercise supplemental jurisdiction over any
stand-alone state-law fraudulent concealment claim.

Neither does fraudulent concealment toll the statute of limitations on
Plaintiffs’ Title IX claim in this case, for the reasons addressed in Garrett.
Vi. Leave to Amend

Plaintiffs request for leave to amend is denied because amendment would
be futile.
Vil. Conclusion

For the reasons addressed above, Plaintiffs Title IX claim is DISMISSED
WITH PREJUDICE. Plaintiffs § 1983 claim and fraudulent concealment claim
are DISMISSED WITHOUT PREJUDICE. The Clerk shall enter judgment for

Defendant and terminate this case.

IT IS SO ORDERED. hoch NU, LZ

MICHAEL H. WATSON, JUDGE
UNITED STATES DISTRICT COURT

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